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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

BILLY COFFMAN,                           )
                                         )
           Plaintiff,                    )
                                         )
      v.                                 ) No. 4:20 CV 1789 CDP
                                         )
KILOLO KIJAKAZI,                         )
Acting Commissioner of                   )
Social Security,                         )
                                         )
           Defendant.                    )

                         MEMORANDUM AND ORDER
      For the reasons stated in defendant’s motion to reverse and remand and

without objection from plaintiff,

      IT IS HEREBY ORDERED that defendant’s motion to reverse and remand

[25] is granted, the decision of the Commissioner is reversed under sentence four

of 42 U.S.C. § 405(g), and this case is remanded for further proceedings.

      A separate Judgment is entered herewith.




                                      _________________________________
                                      CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 2nd day of November, 2021.
